   Case: 1:20-cv-00304 Document #: 77 Filed: 05/31/20 Page 1 of 2 PageID #:2659




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


  ORALDENT LTD.,

  Plaintiff,                                                 Civil Action No.: 1:20-cv-00304

  v.

  THE PARTNERSHIPS AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

  Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                444                                      Foshin
                451                                     IEnkidu




DATED: May 31, 2020                                 Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    111 West Jackson Boulevard, Suite 1700
                                                    Chicago, Illinois 60604
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                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-00304 Document #: 77 Filed: 05/31/20 Page 2 of 2 PageID #:2660




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on May 31, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
